Case 1:19-cv-02240-CFC-SRF Document 272 Filed 11/19/21 Page 1 of 2 PageID #: 11826




                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

   VOLTERRA SEMICONDUCTOR                    )
   LLC,                                      )
                                             )
                 Plaintiff,                  )
                                             )
     v.                                      ) C.A. No. 19-2240-CFC-SRF
                                             )
   MONOLITHIC POWER SYSTEMS,                 )
   INC.,                                     )
                                             )
                 Defendant.                  )


          DEFENDANT MONOLITHIC POWER SYSTEMS, INC.’S
       MOTION TO EXCLUDE THE TESTIMONY AND OPINIONS OF
       PLAINTIFF’S DAMAGES EXPERT, DEFOREST MCDUFF, PH.D.

          Pursuant to Federal Rules of Evidence 702 and 703, defendant Monolithic

  Power Systems, Inc. (“MPS”) respectfully moves to preclude Plaintiff’s damages

  expert, Deforest McDuff, Ph.D, from testifying and opining on damages related to

  all reasonable royalty calculations based on an unreliable royalty base determination,

  an unreliable technology apportionment factor and/or an incomparable license. The

  grounds for this motion are set forth in MPS’s opening brief, filed herewith.

  Pursuant to D. Del. LR 7.1.1, counsel certifies that reasonable efforts have been

  made to reach agreement on the subject of this motion.

          WHEREFORE, MPS respectfully requests that the Court grant this motion

  and enter the attached proposed order.
Case 1:19-cv-02240-CFC-SRF Document 272 Filed 11/19/21 Page 2 of 2 PageID #: 11827




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